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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

DWIGHT LODGE                               *

       Plaintiff,                          *

v.                                         *       Civil Action No.: 1:09 CV 02110 (EGS)

DISTRICT HOSPITAL PARTNERS, LP,*
d/b/a THE GEORGE WASHINGTON
UNIVERSITY HOSPITAL, et al.    *

       Defendants.                         *

*      *       *          *   *     *      *       *      *      *       *      *      *

                    STIPULATION OF DISMISSAL WITH PREJUDICE
                          OF DEFENDANT MARIAMA NIXON

       Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff hereby stipulates to the

dismissal of Defendant Mariama Nixon, with prejudice, from this action. No other party shall be

dismissed at this time.

                                   Respectfully submitted,



/s/ Stuart M. Salsbury                               /s/ Aaron L. Moore
Stuart M. Salsbury, Esquire                        Thomas V. Monahan, Esquire
(DC Bar # 463059)                                  (DC Bar # 457213)
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 8th day of August 2012, a copy of the foregoing

Stipulation of Dismissal with Prejudice of Defendant Mariama Nixon was electronically filed to:

                                  Stuart M. Salsbury, Esquire
                                     Greg Hopper, Esquire
                         Salsbury Clements Bekman Marder & Adkins
                                300 W. Pratt Street, Suite 450
                                 Baltimore, Maryland 21201
                                     Attorneys for Plaintiff


                                                     /s/ Aaron L. Moore
                                                   Aaron L. Moore (#500099)




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